Case 9:18-cv-80086-DMM Document 43 Entered on FLSD Docket 05/02/2018 Page 1 of 3




                          U N ITE D STA T ES D ISTR IC T C O U R T
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                             W E ST PA LM BEA C H D IV ISIO N

                              C ase N o.9:18-C V -80086-D M M

    CH ARI,ES W ILD ES,FM N CISC O D O RIA ,
    A K IV A K ATZ,JA M E S GIJR RY ,
    and R ON A LD N ELSO N ,individually;
    JU STIN PERR Y ,individually;and on
    behalfofallotherpersons sim ilarly situated,

         Plaintiff(s)


    B ITC ON N EC T IN TERN A TION A L PLC ;
    B ITCO N N EC T LTD .;BITCO NN ECT TRA D IN G
    LTD .;JO SHU A JEPPE SEN ,G LEN N A RCA R O ;
    TREV O N BR O W N a/k/a TR EV O N JA W S;
    R Y A N H ILD R ETH ,CR M G G R AN T,eta1,

         Defendantts).



        A N SW ER TO SE C O N D A M EN D E D C LA SS A CT IO N C O M PLA IN T

          1,Ryan H ildreth,in the above captioned case,deny generally and

    specitically each and every allegation ofthe Second A m ended Class A ction

    C om plaint,except,l adm itParagraphs 16 and 18.

          Regarding Paragraph 32,Iadm itonly thatI w as dom iciled in Laguna

    N iguel,Califom ia.
Case 9:18-cv-80086-DMM Document 43 Entered on FLSD Docket 05/02/2018 Page 2 of 3




            lrequestthatPlaintiffs take nothing by theirC om plaint.



    Dated:0.l
            /t/1
               :                                          R espectfully subm itted,


                                                                            K




                                                          Ryan H ildreth
                                                         hildrethgsl@gmail.com
                                                         2801 K elvin A venue,U nit596
                                                         lrvine,CA 92614
                                                         Telephone:llob'hx2.
                                                                           g-'
                                                                             D tlz


                                            C ertincate of Service

            lhereby certify thata true and corred copy ofthe foregoing w as served by

    u.s.Mailon 5J/l%       ,
                                              gdateqonthetbllowing:
    D avid C .Silver
    Jason S.M iller
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    11780 W .Sam ple R oad
    C oralSprings,FL 33065
    (954)516-6000
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    CounselforPlaintp
                                                           pU
                                                   Ryari ildreth
Case 9:18-cv-80086-DMM Document 43 Entered on FLSD Docket 05/02/2018 Page 3 of 3




                                        RY AN H ILD RETH
                                    2801 Kelvin Avenue Unit596
                                         Irvine,CA 92614
                                           (657)229-2116




    Clerk ofthe Court
    PaulG .RogersFederalBuilding
    and U .S.Courthouse
    701 Clem atis Street,Room 202
    W estPalm Beach,FL 33401

           Re:     W ildesv.B itcorm ect
                   Case N o.9:18-CV -80086-DM M

    Ilear Clerk'
               .

            1nm a D efendantin the above-referenced case. Enclosed is and originaland a copy of
    m y A nsw erto the Second A m ended ClassA ction Com plaintforfiling.

           Thank you foryourassistance.

                                               V ery truly yours,
                                                                    *   j




                                               Ry     ildreth
